Case 8:20-mj-00192-CBD Document1 Filed 01/15/20 Page 1 of 1

AO 91 (Rev. 11/11) Criminal Complaint AUSA Windom_2019R00568

 

UNITED STATES DISTRICT COURT

  

 

for the
District of Maryland
United States of America )
Vv. ) ?

) Case No. a= a \AQ- cab
) ~———__ FILED ENTERED
) LOGGED RECEIVED

BRIAN MARK LEMLEY, JR. )

)

 

j hs j
Defendant(s) JAN 1 a 2020

AT GREENBELT
CLERK, U.S. DISTRICT COURT

CRIMINAL COMPLAINT ™ DISTRICT OF MARYLAND

 

 

DEPUTY
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 8/19/2019 - 1/11/2020 in the county of Prince George's in the
oo Districtof = Maryland ~___ , the defendant(s) violated:
Code Section Offense Description
8 U.S.C. § 1324(a)(1)(A)(ii), (iii), transporting and harboring certain aliens, and conspiracy to do so;

and (v)(l); 18 U.S.C. § 922(a)(4); 18 transporting machine gun in interstate commerce; disposing of any firearm

U.S.C. § 922(d)(5); 18 U.S.C. § 924 and ammunition to an alien illegally or unlawfully in the United States;

(b); 18 U.S.C. § 2 transporting firearm and ammunition in interstate commerce with intent to
commit therewith an offense punishable by a term exceeding one year;
aiding-and-abetting

This criminal complaint is based on these facts:

See the attached Affidavit of Special Agent Rachid T. Harrison dated January 14, 2020.

@ Continued on the attached sheet.

bk! T foo —

te :
Complainant's signature

Rachid T. Harrison, Special Agent, FBI

Printed name and title

 

Sworn to before me and signed in my presence.

t
o CE /s >»
Judge's signature wt
City aiid state: Greenbelt, MD Charles B. Day, U.S. Magistrate Judge

Printed name and title

Date:

 

 
